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                                       UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF FLORIDA

                                       CASE NO. 15-21702-Civ-LENARD
                                               (10-20410-Cr-LENARD)
                                       MAGISTRATE JUDGE P.A. WHITE

  DEXTER EARL KEMP,             :

        Movant,                 :
                                                 REPORT OF
  v.                            :              MAGISTRATE JUDGE

  UNITED STATES OF AMERICA, :

        Respondent.             :

                                :

                               I. Introduction

        This matter is before the Court on the movant’s pro se motion
  to   vacate   filed   pursuant     to   28   U.S.C.   §2255,   attacking   his
  convictions and sentences entered after jury trial in Case No. 10-
  20410-Cr-Lenard on nine grounds of ineffective assistance of trial
  counsel.


        This    Cause   has   been    referred     to   the   undersigned    for
  consideration and report pursuant to 28 U.S.C. §636(b)(1)(B) and
  Rules 8 and 10 of the Rules Governing Section 2255 Cases in the
  United States District Courts.


        The Court has reviewed the motion to vacate with attached
  exhibits and separate supporting memorandum of law (Cr-DE# 1389;
  Cv-DE# 1, 4), the government’s response to an order to show cause
  with supporting exhibits (Cv-DE# 16), the Movant’s Reply with
  attached exhibits (Cv-DE# 22), and all pertinent portions of the
  underlying criminal file.

                                     II. Facts
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        The case arose from investigations conducted by the Miami
  Gardens Police Department into sales of crack cocaine, cocaine,
  marijuana, and MDMA/Ecstasy. In early 2009, the local detectives
  met with Federal Bureau of Investigation (“FBI”) Agents to enlist
  their assistance in investigating drug sales. The FBI used a
  confidential informant (“CI”) to arrange drug purchases. On May 11,
  2009, the CI called codefendant Shaheed Rashard Thompson (“Rashard
  Thompson”) and asked to buy 7 grams of cocaine for $200. On May 20,
  2009, the CI, wearing a body wire and under police surveillance,
  was told by Rashard Thompson to purchase 7 grams of cocaine from
  codefendant     Antwan    Roshax   Gray       (“Antwan     Gray”).     The    CI   then
  arranged to purchase another 7 grams from Antwan Gray on May 27,
  2009, when the CI wore a recorder and a hidden camera. On June 10,
  2009, the CI arranged to purchase 21 grams of cocaine for $600 from
  Antwan Gray, but received a bag of “cut,” consisting of lidocaine
  and caffeine, which is not cocaine. When the CI refused to confront
  Antwan   Gray     about   the   faux     cocaine,    the    FBI      terminated     his
  services.


        Based   on   the    information     given     by   the    CI    and    his   drug
  purchases from Antwan Gray, the use of surveillance, pole cameras,
  pen registers, and other investigative methods, the FBI obtained a
  court order authorizing the wire intercept of Antwan Gray's mobile
  phone. Approximately 8,000 mobile and “walkie-talkie” calls were
  recorded. The wire intercepts recorded conversations between Antwan
  Gray and all of the defendants, with the exception of codefendant
  Rahmin J. Jefferson, and consisted of discussions of drugs deals,
  sources,    and    deliveries.     The    government's         evidence      at    trial
  consisted primarily of the wiretapped recordings and testimony of
  police officers, federal agents, and cooperating co-defendants, who
  had pled guilty.



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        Specifically as to Kemp, the evidence admitted at trial, as
  succinctly summarized by the Eleventh Circuit Court of Appeals in
  its opinion issued on direct appeal, was as follows:

        FBI Agent Lofton testified Kemp was heard discussing drug
        dealing with Antwan Gray in the wiretapped calls. He was heard
        discussing marijuana, negotiating the purchase of it, and
        asking Antwan Gray to deliver drugs to a third party. Former
        co-defendant McMillian, who received drugs from Kemp from 2009
        to 2010, testified that when he could not fill drug orders, he
        referred customers to Kemp. Sherline Richard testified Antwan
        Gray and Kemp met two or three times each week and supplied
        each other with MDMA. Richard also observed Kemp carrying a
        semiautomatic gun equipped with a laser beam.

        Several searches produced evidence used against Kemp during
        trial. On September 30, 2009, detectives observed Kemp's car
        departing from the house of a co-conspirator who later pled
        guilty; they stopped the vehicle because of excessively tinted
        windows. Kemp consented to a search and the detectives found
        MDMA pills and marijuana in the compartment behind the door
        handle.[fn 3] On November 18, 2009, while a search was
        occurring at Morley's home, officers again stopped Kemp for
        the excessively dark-tinted windows of his car. A drug dog
        alerted to marijuana in the trunk. A box containing 8 rounds
        of 9–millimeter cartridges was located in the compartment on
        the back of the front passenger's seat.

        On March 23, 2010, FBI Agent Lofton and other FBI agents went
        to another house on the street of “the four” to locate Kemp.
        During a protective sweep of the house, the officers observed
        marijuana residue in an open bag, a small digital scale, a
        metal sifter, and a bottle of prescription pills on the
        bedside table. The officers also found 48 baggies of marijuana
        hidden behind the television in Kemp's bedroom, a photograph
        of a birthday cake for Kemp labeled “Boss,” and a button
        stating “MGT, BOSS” (referring to rap group “Myrtle Grove
        Taliban”)[footnote and record references omitted]. In Kemp's
        closet the officers located a gun holster and a gun box for a
        Ruger 9–millimeter gun containing an empty magazine and
        magazine holder, the same caliber as ammunition found in
        Kemp's car on November 18, 2009. After waiving his Miranda
        rights,[fn 5] Kemp explained he had bought ammunition at a gun
        store in Hialeah, Florida, that did not conduct criminal
        background checks; the officers showed him the box for the
        Ruger 9–millimeter gun found in his bedroom, but Kemp insisted
        he no longer had it.

              Fn.3 Following his arrest, Kemp called Antwan Gray
              from the back seat of the officers' vehicle and

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              warned him to be careful because he had just been
              arrested with drugs.

              Fn.4 Miranda v. Arizona, 384 U.S. 436, 86 S.Ct.
              1602, 16 L.Ed.2d 694 (1966).

  United States v. Gray, 544 F.App'x 870, 878-79 (11th Cir. 2013).

                           III. Procedural History

        On November 9, 2010, Kemp, along with eight co-defendants, was
  charged in a Second Superseding Indictment. (Cr-DE# 460; Cv-16-1).
  Specifically, Kemp was charged with the offenses of conspiracy to
  possess with the intent to distribute fifty grams or more of a
  mixture and substance containing a detectable amount of cocaine
  base, commonly known as “crack,” five hundred grams or more of a
  mixture and substance containing a detectable amount of cocaine,
  and fifty kilograms or more of marijuana and a detectable amount of
  3-4 methylenedioxymethamphetamine (MDMA), commonly referred to as
  “Ecstasy” (Count 1); possession with intent to distribute less than
  50 kilograms of marijuana (Count 3); possession of a firearm in
  furtherance of a drug trafficking crime (Counts 8 and 9); and
  possession of ammunition by a convicted felon (Count 10). Id.


        Kemp entered pleas of not guilty to the offenses charged and
  the case was tried before a jury. Count 9 was dismissed during
  trial and the jury found Kemp guilty of the remaining offenses.
  (Cr-DE# 950). The Court adjudicated Kemp guilty of the subject
  offenses and he was sentenced as a career offender to a total term
  of imprisonment of 420 months’ incarceration, consisting of 360
  months as to Count 1 to run concurrently with 120 months as to
  Counts 3 and 10, and a consecutive 60 month term as to Count 8.
  (Cr-DE# 1104, 1250; Cv-DE# 16-2, 16-3).


        Kemp prosecuted a direct appeal, along with seven of his


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  codefendants, challenging his convictions and sentences. United
  States v. Gray, 544 F. App'x 870 (11th Cir. 2013). He first argued
  that the evidence admitted at trial was insufficient to support his
  conviction for conspiracy to possess with intent to distribute
  controlled substances. Id. at 886-88 He contended that the evidence
  admitted at trial only established that he was an occasional
  purchaser and not a voluntary participant in the drug conspiracy.
  Id. He also maintained that the evidence did not support the jury's
  findings regarding the drug quantities involved in the conspiracy.
  Id.   at   888,    n.13.         Kemp   additionally    argued    that   there   was
  insufficient evidence to convict him of possession of a firearm in
  furtherance       of    a   drug-trafficking        crime,   18   U.S.C.    §924(c),
  prosecuted under a Pinkerton1 theory of vicarious liability. Id. at
  889-91.    According        to    Kemp,   because     codefendant   Jefferson    was
  acquitted of the conspiracy charge, he could not be liable for
  Jefferson's possession of a gun. Id. Kemp raised challenges to the
  jury instructions, contending that the instructions given misstated
  the permissible inferences about membership in a drug distribution
  conspiracy that can be drawn from a buyer-seller relationship and
  this Court erroneously refused to instruct the jury that conspiracy
  to possess narcotics is a lesser-included offense of conspiracy to
  possess    with        intent     to    distribute.    Id.   at   891-93.    Besides
  challenging his convictions, Kemp appealed sentencing issues. He
  argued that this Court erred in calculating the drug quantities for
  his sentence and failed to make individualized drug quantity




        1
         Under Pinkerton v. United States, 328 U.S. 640, 66 S.Ct. 1180, 90 L.Ed.
  1489 (1946), “[e]ach party to a continuing conspiracy may be vicariously liable
  for substantive criminal offenses committed by a co-conspirator during the course
  and in the furtherance of the conspiracy, notwithstanding the party's
  non-participation in the offenses or lack of knowledge thereof,” as long as “the
  substantive crime was a reasonably foreseeable consequence of the conspiracy.”
  United States v. Mothersill, 87 F.3d 1214, 1218 (11th Cir. 1996)(citations and
  internal quotation marks omitted).

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  findings.2 Id. at 895. Kemp argued that this                 Court erred in
  refusing to grant downward variances in his sentences. Id. Kemp
  also adopted various other arguments raised on direct appeal by his
  codefendants.


        Kemp’s convictions and sentences were affirmed by the Eleventh
  Circuit Court of Appeals in an unpublished written opinion issued
  on November 15, 2013. Gray, 544 F. App'x 870. See also Cr-DE# 1364.
  Kemp did not seek review before the United States Supreme Court.3
  See generally, Docket in Case No. 10-20410-Cr-Lenard.

                             IV. §2255 Proceedings

        After waiting for more than one year after the direct appeal
  proceeding    had    concluded,     Movant    instituted     this   collateral
  proceeding pursuant to 28 U.S.C. §2255 on April 29, 2015.4 See Cr-
  DE# 1389; Cv-DE# 1, 4. The government has filed a response, arguing
  that Movant is not entitled to collateral relief, because the
  motion is untimely filed and/or the claims are meritless. See Cv-
  DE# 16. The Court agrees with the government that Movant is not
  entitled to review on the merits of the claims raised since they
  are time-barred. The alternate argument advanced by the government


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         In a supplemental brief, Kemp attempted to raise a new sentencing issue
  based on Alleyne v. United States,      U.S.   , 133 S.Ct. 2151, 186 L.Ed.2d 314
  (2013), arguing that his Sixth Amendment rights had been violated when prior
  felony-drug convictions were relied upon to enhance his sentence, although the
  prior convictions were not set forth in the Indictment or found by the jury to
  have occurred as a matter of fact. The Eleventh Circuit held that Kemp had waived
  the new issue. United States v. Gray, 544 F.App'x 870, 896 n.19 (11th Cir. 2013).
  The Eleventh Circuit also noted that the Supreme Court in Alleyne expressly held
  that the rule that a judge may find the fact of a prior conviction was not
  disturbed. Alleyne, 133 S.Ct. at 2160 n.1.
        3
         Kemp’s assertion to the contrary will be addressed in Section IV of this
  Report.
        4
          The Eleventh Circuit recognizes the “mailbox” rule in connection with the
  filing of a prisoner’s pleadings. Adams v. United States, 173 F.3d 1339 (11th
  Cir. 1999)(prisoner’s pleading is deemed filed when executed and delivered to
  prison authorities for mailing).

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  also appears meritorious, but need not be addressed in that the
  time-bar argument is clearly dispositive of the instant motion to
  vacate.


         As a starting point, the Court turns to the date upon which
  Movant’s judgment of conviction became final under 28 U.S.C.
  §2255(f)(1).5 “Finality attaches when [the United States Supreme
  Court] affirms a conviction on the merits on direct review or
  denies a petition for a writ of certiorari, or when the time for
  filing a certiorari petition expires.”. Clay v. United States, 537
  U.S.       522,     527,    123   S.Ct.     1072,    155    L.Ed.2d     88   (2003).   The
  government argues that the subject convictions and sentences became
  final on February 13, 2014, when the ninety-day period to file a
  petition for writ of certiorari expired. See Response in Opposition
  to Motion to Vacate at 12-3. (Cv-DE# 16). Kemp asserts that he
  filed a petition for certiorari to the United States Supreme Court,
  therefore, his convictions and sentences did not become final until
  May 28, 2014, when the petition was denied.


         Kemp’s assertion is belied by the record. As indicated above,
  Kemp joined seven of his codefendants in a consolidated direct

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             Section 2255(f) sets a one-year limitations period running from the latest
  of:

                    (1) the date on which the judgment of conviction becomes
                    final;

                    (2) the date on which the impediment to making a motion
                    created by governmental action in violation of the
                    Constitution or laws of the United States is removed, if the
                    movant is prevented from making a motion by such governmental
                    action;

                    (3) the date on which the right asserted was initially
                    recognized by the Supreme Court, if that right has been newly
                    recognized by the Supreme Court and made retroactively
                    applicable to cases on collateral review; or

                    (4) the date on which the facts supporting the claim or claims
                    presented could have been discovered through the exercise of
                    due diligence.

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  appeal before the Eleventh Circuit Court of Appeals. See Gray, 544
  F.App'x 870, 874. The Eleventh Circuit’s opinion, affirming the
  convictions and sentences, issued on November 15, 2013. Three of
  Kemp’s codefendants did seek certiorari review before the United
  States Supreme Court, Shaheed Rashard Thompson, Artrell Terrance
  Gray, and Antwan Roshax Gray, and their petitions were denied on
  March 24, 2014, and May 27, 2014, respectively. See Thompson v.
  United States, No. 13-8797,              U.S.     , 134 S.Ct. 1571, 188 L.
  Ed. 2d 580 (March 24, 2014); Gray v. United States,              No. 13-9889,
        U.S.    , 134 S. Ct. 2686, 189 L. Ed. 2d 227 (May 27, 2014).
  See also Cr-DE# 1361, 1362. The denial of the writ of certiorari as
  to codefendants Antwan Roshax Gray and Artrell Terrance Gray was
  entered on this Court’s docket on May 28, 2014. (Cr-DE# 1362).


        Kemp attempts to support his assertion that he too sought
  certiorari    review   with   a   copy    of    what   appears   to   be   email
  correspondence between appellate counsel Allen P. Pegg and Rosa,
  Dexter’s mother, dated August 11, 2015. See Email from Allen P.
  Pegg dated August 11, 2015. (Exhibit attached to Reply)(Cv-DE# 22).
  The email states in pertinent part as follows:

        In Dexter's appeal, there was a petition for certiorari filed
        with the US Supreme Court. That petition was filed from the
        very same appeal and very same district court case (12-10990
        for the appeal and 10-20410 for the district court case) as
        Dexter's. If the Supreme Court had granted certiorari and
        reversed the convictions for the reasons argued in the
        petition, I believe that relief would have affected Dexter's
        conviction. The Supreme Court denied the petition for
        certiorari on May 28, 2014. Dexter filed his habeas petition
        less than a year thereafter. Under Clay v. United States, 537
        US 416, the petition should be deemed timely. The government's
        argument fails to recognize that there was a petition for
        certiorari filed in Dexter's case.

  Id.


        The now-relied upon correspondence, sent subsequent to the

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  filing of the instant §2255 motion, does not state that a petition
  for writ of certiorari was filed by Kemp, through counsel or pro
  se. Id. The correspondence merely indicates that a petition for
  certiorari had been filed from the Eleventh Circuit’s opinion. Id.
  Furthermore, the date of the denial of the petition for writ of
  certiorari referred to by appellate counsel in the correspondence
  is May 28, 2014. Id. That date corresponds with the entry on this
  Court’s docket of the denial of codefendants Antwan Roshax Gray and
  Artrell Terrance Gray’s petition for writ of certiorari. See Cr-DE#
  1362. The undersigned’s full and careful review of the records of
  this Court and the records of the Eleventh Circuit Court of Appeals
  has shown that no petition for writ of certiorari was ever filed by
  Kemp. See generally, Docket in Case No. 10-20410-Cr-Lenard; Docket
  in Case No. 12-10990 (11th Cir.). Any possible belief on the part
  of Kemp and/or appellate counsel that Kemp had filed a petition for
  writ of certiorari is erroneous.


        With the correct date of finality in mind, Kemp’s convictions
  and sentences became final on February 13, 2014, when the ninety-
  day period to file a petition for writ of certiorari expired, as
  asserted by the government. Clay, 537 U.S. at 527. Accordingly, in
  order for Movant’s motion to vacate to be timely, it must have been
  filed in this Court on or before February 13, 2015. The instant
  motion to vacate was not filed until April 29, 2015, more than two
  months after the applicable limitations period had already expired.


        Although Kemp maintains that the instant §2255 motion to
  vacate has been timely filed, when reading the motion to vacate,
  supporting memorandum of law and reply liberally,6 it appears that

        6
          It is well settled that pro se filings are subject to less stringent
  pleading requirements and should be liberally construed with a measure of
  tolerance. See Haines v. Kerner, 404 U.S. 519 (1972). See also Gomez-Diaz v.
  United States, 433 F.3d 788, 791 (11th Cir. 2005); Diaz v. United States, 930

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   Kemp may be contending that the instant motion to vacate should be
   deemed timely filed pursuant to §2255(f)(3) in that certain cited
   Supreme Court decisions trigger new limitations periods and/or he
   is entitled to equitable tolling of the limitations period. Kemp is
   mistaken.


         Kemp cites Rosemond v. United States,              U.S.      , 134 S.Ct.
   1240 (March 5, 2014)7 with regard to his challenge to the §924(c)
   conviction entered as to Count 8. See Memorandum of Law in Support
   of 28 U.S.C. §2255 at 44-9. (Cv-DE# 4). The undersigned first notes
   that the instant §2255 motion has not been filed within the one-
   year period after Rosemond was decided, rendering it time-barred on
   this basis alone. Even if the motion to vacate had been filed
   within the one-year period, reliance upon this Supreme Court case
   does not result in an extension of the limitations period or
   relief.


         The consensus among courts which have addressed this issue
   have determined that, because the holding in Rosemond was dictated
   by established precedent, Rosemond does not apply retroactively to
   cases on collateral review. See Cover v. United States, 2016 WL
   323607, *3 (D.R.I. Jan. 26, 2016)(holding that Rosemond was not
   retroactive in that it did not change, but, rather, clarified
   substantive law and did not fall within either exception to the
   Teague8 bar); Aquil v. Butler, 2015 WL 1914404, *4 n.7, 4-5


   F.2d 832, 834 (11th Cir. 1991).
         7
          In Rosemond, the Supreme Court explained that “[a]n active participant in
   a drug transaction has the intent needed to aid and abet a §924(c) violation when
   he knows that one of his confederates will carry a gun.” Rosemond v. United
   States, 134 S.Ct. 1240, 1249 (2014). A conviction for aiding-and-abetting
   “requires not just an act facilitating one or another element, but also a state
   of mind extending to the entire crime.” Id. at 1248. Further, “the intent must
   go to the specific and entire crime charged.” Id.
         8
             Teague v. Lane, 489 U.S. 288 (1989).

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   (E.D.Ky. April 27, 2015)(agreeing with conclusion of various courts
   that Rosemond does not apply retroactively to cases on collateral
   review such as the §2241 petition before the court and compiling
   cases), citing, United States v. Davis, 750 F.3d 1186, 1192–93
   (10th Cir. 2014)(suggesting prospective application only: “After
   Rosemond, a jury instruction on aiding and abetting §924(c) should
   address the defendant's advance knowledge of the gun.”); Watford v.
   Matevousian, 2015 WL 1498859, *3 (E.D.Cal. Mar. 31, 2015)(refusing
   to   apply    Rosemond         retroactively          to    prisoner's       §2241    petition
   because      the    Supreme         Court   did      not     identify       its   holding      as
   retroactively applicable); Watford v. Copenhaver, 2014 WL 4967800,
   *2   (E.D.Cal.       Dec.      8,   2014)(same);           Montana     v.   Cross,    2014     WL
   5091708, *3 (S.D.Ill. Oct. 10, 2014)(denying §2241 petition because
   petitioner's reliance on Rosemond “does not bring his claim within
   the savings clause,” and stating, “The Supreme Court gave no
   indication         that   its       decision         in    Rosemond     should       be     given
   retroactive        application         to   a     case      on    collateral      review.”);
   Taniguchi     v.     Butler,        2014    WL    5063748,        *5    (E.D.Ky.      Oct.     8,
   2014)(denying federal prisoner's §2241 habeas petition based on
   Rosemond claim); United States v. Foreman, 2014 WL 4403445, *1
   (N.D.Okla. Sept. 5, 2014); Rainwater v. Werlich, 2014 WL 4218346,
   *2 (W.D.La. Aug. 25, 2014)(finding §2241 relief unavailable through
   the savings clause of §2255(e) because Rosemond has not been
   declared retroactively applicable by Supreme Court); Rodriguez–Pena
   v. Werlich, 2014 WL 4273631, *2 (W.D.La. Aug. 29, 2014)(relief not
   available in §2241 under savings clause of §2255(e) because Supreme
   Court did not make Rosemond retroactively applicable); Minaya v.
   United    States,         41    F.Supp.3d         343,      345      (S.D.N.Y.       Aug.     19,
   2014)(finding Rosemond and another related Supreme court case not
   retroactively applicable to cases on collateral review); Gentile v.
   Fox, 2014 WL 3896065, *9 (C.D.Cal. July 11, 2014)(“The [Rosemond]
   case did not involve an actual innocence claim, but rather merely

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   an instructional error claim, and there is no indication in the
   decision that rule declared therein regarding what it takes to aid
   and abet a §924(c) offense would apply retroactively on collateral
   review.”); Martinez v. United States, 2014 WL 3361748, *2 (N.D.Tex.
   July 9, 2014)(concluding Rosemond does not announce a substantive
   rule and is not retroactive). Since it does not appear that
   Rosemond should be given retroactive application to cases on
   collateral review, the instant motion to vacate is time-barred.


        Kemp additionally challenges his career offender as unlawful
   on various grounds, including the ground that trial counsel was
   ineffective for failing to challenge the residual clause of the
   Career Offender Statute. See Memorandum of Law in Support of 28
   U.S.C.    §2255   at    29-31;    Reply    at    12-3.    (Cv-DE#    4,    22).    Kemp
   essentially contends that he was improperly sentenced as a career
   offender under the United States Sentencing Guidelines pursuant to
   Johnson v. United States,               U.S.     , 135 S.Ct. 2551, 192 L.Ed.2d
   56983 (June 26, 2015) and Descamps v. United States, 570 U.S.                        ,
   133 S.Ct. 2276, 186 L.Ed.2d 438 (2013).


        Kemp’s reliance on Johnson is misplaced either as a way of
   extending the limitations period pursuant to §2255(f)(3) or as a
   substantive ground for relief. While the instant §2255 motion to
   vacate was filed within one year of the date Johnson was issued,
   June 26, 2015, the Supreme Court did not expressly address the
   retroactivity      of   Johnson    or    its    availability    as    a    basis   for
   collateral relief. The Supreme Court recently granted certiorari to
   decide “[w]hether Johnson ... announced a new substantive rule of
   constitutional law that applies retroactively to cases that are on
   collateral review.” Welch v. United States, 136 S.Ct. 790 (Jan. 8,
   2016). It is unnecessary to hold this particular case in abeyance
   pending    the    outcome   of    Welch,       however,   because    the    sentence

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   challenge would fail on the merits even if it was timely.


          Kemp’s attack on his career offender sentence under the
   Sentencing Guidelines is unavailing. In Johnson, the Supreme Court
   held that the residual clause of the Armed Career Criminal Act is
   unconstitutionally vague. The Armed Career Criminal Act increases
   sentences for certain offenders who have three previous convictions
   for    violent    felonies        or     serious   drug     offenses.     18     U.S.C.
   §924(e)(1). The definition of “violent felony” under the Act is
   nearly identical to the definition of “crime of violence” under the
   guidelines, and both definitions contain an identical residual
   clause that include crimes that “present[] a serious potential risk
   of physical injury to another.” 18 U.S.C. §924(e)(2)(B); U.S.S.G.
   § 4B1.2(a)(2). Although the residual clause contained in the career
   offender enhancement residual clause is virtually identical to the
   ACCA’s residual clause, the Eleventh Circuit has expressly rejected
   the argument that the advisory guidelines can be unconstitutionally
   vague, concluding that the vagueness doctrine applies only to laws
   that    prohibit        conduct    and      fix    punishments,     not        advisory
   guidelines.” United States v. Matchett, 802 F.3d 1185, 1189, 1193-
   96 (11th Cir. 2015). Therefore, the Eleventh Circuit has “squarely
   foreclose[d]” the Movant’s Johnson-based argument. United States v.
   Brown, 2015 WL 9301410 (11th Cir. Dec. 22, 2015).


          Moreover, Johnson is factually inapplicable to Movant’s case.
   Kemp’s criminal history includes convictions for serious violent
   and controlled substance felony offenses, including: (1) armed
   robbery with a firearm (PSI at ¶81); (2) carrying a concealed
   firearm   (PSI     at    ¶82);     (3)    possession      with   intent    to     sell,
   manufacture      or     deliver    cocaine      (PSI   at   ¶82);   (4)    felon     in
   possession of a firearm or weapon (PSI at ¶82); and (5) possession
   with intent to sell, manufacture or deliver cannabis (PSI at ¶83).


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   Kemp clearly qualified as a career offender based on his prior
   felony convictions. The residual language in 4B1.2(a)(2) is not at
   issue in this case. Even if the United States Supreme Court held
   that the guidelines’ residual clause is also unconstitutionally
   vague, such holding would not affect the Movant’s career offender
   classification in that it is not based on the Guidelines’ residual
   language. Similarly, the Supreme Court’s holding in Descamps9 is
   inapplicable to the instant case in that Kemp was sentenced as a
   career offender and not under the ACCA so Descamps has no impact
   whatever on the limitations period or Kemp’s claim on the merits.


         Kemp next seems to argue that he is entitled to equitable
   tolling of the limitations period on the basis of actual innocence
   of the §924(c) offense. See Memorandum of Law in Support of 28
   U.S.C. §2255 at 44-9. (Cv-DE# 4). He claims that the government did
   not prove that he had advanced knowledge that a coconspirator would
   carry and/or use a firearm in furtherance of the drug trafficking
   charges. Id. The United States Supreme Court has held that actual
   innocence, if proved, can serve as a gateway through which a
   petitioner may pass whether the impediment is a procedural bar, as
   it was in Schlup v. Delo, 513 U.S. 298, 115 S.Ct. 851, 130 L.Ed.2d
   808 (1995), and House v. Bell, 547 U.S. 518, 126 S.Ct. 2064, 165
   L.Ed.2d 1 (2006), or expiration of the AEDPA statute of limitations
   as it was in McQuiggin v. Perkins,               U.S.      , 133 S.Ct. 1924,




         9
           In Descamps, the Supreme Court clarified the test for which prior
   convictions constitute violent felonies for purposes of the Armed Career Criminal
   Act (the “ACCA”), 18 U.S.C. §924(e). The Supreme Court in Descamps held that
   courts may not apply the modified categorical approach to sentencing under the
   Armed Career Criminal Act when the crime of which the defendant was convicted has
   a single, indivisible set of elements. Id. The Court, thereby, reaffirmed the
   application of a “formal categorical approach” to determine whether a prior
   conviction counts as a predicate offense for ACCA purposes, and generally
   prohibited sentencing courts from looking beyond the statutory elements of a
   crime to the facts underlying the prior convictions.

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   185 L.Ed.2d 1019 (2013).10 “To establish actual innocence, [a habeas
   petitioner] must demonstrate that ... ‘it is more likely than not
   that no reasonable [trier of fact] would have convicted him.’
   Schlup v. Delo, 513 U.S. 298, 327-328, 115 S.Ct. 851, 867-868, 130
   L.Ed.2d 808 (1995).” Bousley v. United States, 523 U.S. 614, 623,
   118 S.Ct. 1604, 140 L.Ed.2d 828 (1998). “[T]he Schlup standard is
   demanding and permits review only in the “‘extraordinary’ case.”
   House, 547 U.S. at 538. Thus, “[i]n the usual case the presumed
   guilt of a prisoner convicted in state court counsels against
   federal review of [untimely] claims.” Id. at 537.


         Schlup observes that “a substantial claim that constitutional
   error has caused the conviction of an innocent person is extremely
   rare.... To be credible, such a claim requires petitioner to
   support his allegations of constitutional error with new reliable
   evidence-whether it be exculpatory scientific evidence, trustworthy
   eyewitness accounts, or critical physical evidence-that was not
   presented at trial. Because such evidence is obviously unavailable
   in the vast majority of cases, claims of actual innocence are
   rarely successful.” Schlup, 513 U.S. at 324. “Actual innocence”
   requires the petitioner to show “factual innocence, not mere legal
   insufficiency.” Bousley, 523 U.S. at 623.


         This Court may, therefore, consider Movant’s untimely §2255
   motion to vacate if, by refusing to consider the motion to vacate


         10
            The Eleventh Circuit had before the Supreme Court decision in McQuiggin
   already recognized an equitable exception to AEDPA's statute of limitations based
   on a credible showing of actual innocence. See San Martin v. McNeil, 633 F.3d
   1257, 1267–68 (11th Cir.)(recognizing an actual innocence exception in the
   context of an untimely section 2254 habeas petitioner and stating, “[a] court
   also may consider an untimely §2254 petition if, by refusing to consider the
   petition for untimeliness, the court thereby would endorse a fundamental
   miscarriage of justice because it would require that an individual who is
   actually innocent remain imprisoned.”)(quotation omitted), cert. denied sub nom.,
   San Martin v. Tucker,       U.S.     , 132 S.Ct. 158, 181 L.Ed.2d 73 (2011).

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   for untimeliness, this Court thereby would endorse a “fundamental
   miscarriage of justice” if Movant was actually innocent. Movant has
   failed to make the requisite showing of actual innocence that would
   support consideration of his untimely §2255 motion on the merits.
   Stated     differently,    Movant    has    failed    to   provide     evidence
   sufficient to satisfy the threshold showing required by Schlup.


         As argued by the government, Kemp presents no new evidence
   whatever, let alone any “new reliable evidence,” to support his
   claim of actual innocence of the subject crime nor has he suggested
   that this requisite evidence exists so as to meet the stringent
   standard. See House v. Bell, 547 U.S. 518. Further, full and
   careful review of Movant’s arguments reveal that his claims involve
   legal innocence and not factual innocence, as is required by Schlup
   and its progeny.11 Bousley, 523 U.S. at 623-24. See also Sawyer v.
   Whitley, 505 U.S. 333, 339, 112 S.Ct. 2514, 2518-2519, 120 L.Ed.2d
   269 (1992)(noting that the miscarriage of justice exception is
   concerned with actual as compared to legal innocence). Therefore,
   Movant fails to demonstrate actual innocence, and his claims remain
   barred by the one-year filing limitation.


         Moreover, Kemp is not entitled to collateral relief on his
   claim that, because codefendant Jefferson had been acquitted of the
   conspiracy charge, he cannot be liable for Jefferson's possession


         11
           For example, Movant’s arguments involve insufficiency of the evidence to
   convict him. As the Schlup decision explains, the gateway actual-innocence
   standard is “by no means equivalent to the standard of Jackson v. Virginia, 443
   U.S. 307, 99 S.Ct. 2781, 61 L.Ed.2d 560 (1979),” which governs claims of
   insufficient evidence. Schlup, 513 U.S. 298, 330 (1995). Movant’s assertion of
   insufficient evidence, therefore, does not support his claim of actual innocence.
   See Justo v. Culliver, 317 F.App’x 878 (11th Cir. 2008)(actual innocence showing
   insufficient where petitioner who entered guilty plea simply attacked sufficiency
   of the indictment and presented no new evidence)(unpublished); Rich v. Department
   of Corrections, 317 F.App’x 881 (11th Cir. 2008)(actual innocence exception
   inapplicable because petitioner presented no new evidence and merely argued the
   state’s evidence was insufficient)(unpublished).

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   of a gun. The identical claim was raised and rejected as meritless
   by the Eleventh Circuit Court of Appeals on direct appeal based
   upon the evidence admitted at trial in conjunction with applicable
   principles of law.12 See Gray, 544 F.App'x at 889-91. In resolving
   the issue, the Eleventh Circuit made clear that it agreed with the
   Fifth Circuit’s holdings that, even if a defendant's co-conspirator
   had been unindicted or acquitted on the conspiracy charge, the
   evidence    can     still    be   sufficient      to    sustain    a   defendant's
   conviction. Id. at 890, citing, United States v. Dean, 59 F.3d
   1479, 1490 n.19 (5th Cir. 1995). It is well settled that an alleged
   error “‘decided adversely to a defendant on direct appeal ...
   cannot be re-litigated in a collateral attack under section 2255.’”
   United     States    v.     Nyhuis,   211     F.3d     1340,   1343    (11th       Cir.
   2000)(citation omitted). The claim             may not be relitigated in this
   §2255 proceeding under the guise of ineffective assistance of trial
   counsel. Id.


         To the extent that Kemp is raising a claim not earlier
   presented on direct appeal, such as, the government also had to
   prove that he actually knew to a certainty that a codefendant would
   actually brandish the gun, the Eleventh Circuit has more recently
   held that even Rosemond does not require such knowledge to sustain
   a §924(c) conviction. See United States v. Maddox, 803 F.3d 1215,
   1222 n.3 (11th Cir. 2015), cert. denied, 136 S. Ct. 852 (2016),
   citing, United States v. Payne, 763 F.3d 1301, 1304 n.2 (11th Cir.


         12
          For example, the Eleventh Circuit stated in relevant part when addressing
   the issue:

         Richard testified Kemp carried a semi-automatic weapon. Officers found
         cartridges and a holder for a magazine in Kemp's car, and a gun box and an
         empty magazine were located in his residence. This evidence is sufficient
         to establish Kemp reasonably could have foreseen a co-conspirator would
         carry a firearm in furtherance of the drug-distribution conspiracy.

   United States v. Gray, 544 F. App'x 870, 890 (11th Cir. 2013).

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   2014)(holding that Rosemond required only that a defendant know
   that one of his confederates was carrying a gun; it did not require
   knowledge that this confederate would brandish the gun.). See also
   Jones v. United States, 2015 WL 2169236, at *8 (N.D.Ga. May 8,
   2015)(holding       that    lack   of    sufficient       evidence   to    support    a
   conviction    for    aiding      and    abetting     a   §924(c)   crime    does    not
   foreclose a conviction based on Pinkerton liability “on the basis
   that it was reasonably foreseeable ... that a co-conspirator would
   have a gun.”)(quoting, United States v. Rodriguez, 2015 WL 249356,
   *7 (11th Cir. Jan. 21, 2015).


         Finally, Movant apparently argues in his reply that he should
   be excused from the limitations period based upon his pro se
   status. See Reply at 1, n.1. (Cv-DE# 22). A movant’s pro se status
   or   ignorance      of     the   law    do     not    constitute     “extraordinary
   circumstances” supporting equitable tolling.13 See Johnson v. United
   States, 544 U.S. 295, 311, 125 S.Ct. 1571, 1582 (2005)(stating that
   “the Court has never accepted pro se representation alone or
   procedural ignorance as an excuse for prolonged inattention when a
   statute's clear policy calls for promptness.”); Rivers v. United
   States, 416 F.3d 1319,           1323 (11th Cir. 2005)(holding that while
   movant’s lack of education may have delayed his efforts to vacate
   his state conviction, his procedural ignorance is not an excuse for
   prolonged inattention when promptness is required). See also Felder
   v.   Johnson,    204     F.3d    168,    171   (5th      Cir.   2000)(holding      that
   petitioner's pro se status and ignorance of the law are not “rare
   and exceptional” circumstances because they are typical of those


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            It is well accepted that pro se filings are subject to less stringent
   pleading requirements, Estelle v. Gamble, 429 U.S. 97, 106 (1976), and should be
   liberally construed with a measure of tolerance. See Haines v. Kerner, 404 U.S.
   519 (1972). See also Gomez-Diaz v. United States, 433 F.3d 788, 791 (11th Cir.
   2005); Diaz v. United States, 930 F.2d 832, 834 (11th Cir. 1991). However, the
   policy of liberal construction for pro se litigants’ pleadings does not extend
   to a “liberal construction” of the one-year limitations period.

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   bringing §2254 claims”); Marsh v. Soares, 223 F.3d 1217 (10th Cir.
   2000)(holding that federal habeas petitioner was not entitled to
   equitable tolling of limitations period; neither inmate's ignorance
   of the law, nor fact that inmate law clerk working through prison
   legal access program helped draft petition, excused prompt filing);
   Carrasco      v.    United   States,    2011   WL   1743318,      *2-3   (W.D.Tex.
   2011)(finding that movant’s claim that he just learned of Padilla
   decision did not warrant equitable tolling, although movant was
   incarcerated and was proceeding without counsel, because ignorance
   of the law does not excuse failure to timely file §2255 motion);
   Holloway v. Jones, 166 F.Supp.2d 1185 (E.D.Mich. 2001)(“Claims that
   a petitioner did not have professional legal assistance are not an
   extraordinary        circumstance      which   would     toll    the    statute   of
   limitations.”).


          In conclusion, Movant did not file his §2255 motion within
   one-year of the applicable limitations period. He has failed to
   show   that    he    is   entitled   to   be   excused    from    the    applicable
   limitations period for any or all the reasons provided. Nothing
   other than Movant's own lack of due diligence is responsible for
   the untimeliness of the filing of the instant motion to vacate.
   Thus, for all the reasons stated above, Movant is not entitled to
   review on the merits of his challenges to his convictions and
   sentences raised in this §2255 proceeding.

                                V. Evidentiary Hearing

          Movant has sought an evidentiary hearing. Movant is not
   entitled to an evidentiary hearing on the limitations issue and/or
   the claims raised in this proceeding. Movant has the burden of
   establishing the need for an evidentiary hearing, and he would only
   be entitled to a hearing if his allegations, if proved, would
   establish his right to collateral relief. See Schriro v. Landrigan,


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   550 U.S. 465, 473-75, 127 S.Ct. 1933, 1939-40, 127 S.Ct. 1933
   (2007)(holding that if record refutes the factual allegations in
   the petition or otherwise precludes habeas relief, a district court
   is not required to hold an evidentiary hearing). See also Townsend
   v. Sain, 372 U.S. 293, 307 (1963); Holmes v. United States, 876
   F.2d 1545, 1553 (11th Cir. 1989), citing, Guerra v. United States,
   588 F.2d 519, 520-21 (5th Cir. 1979)(holding that §2255 does not
   require that the district court hold an evidentiary hearing every
   time    a    section     2255   petitioner        simply       asserts   a   claim    of
   ineffective assistance of counsel, and stating: “A hearing is not
   required on patently frivolous claims or those which are based upon
   unsupported generalizations. Nor is a hearing required where the
   petitioner's allegations are affirmatively contradicted by the
   record.”).

                          VI. Certificate of Appealability

          As amended effective December 1, 2009, §2255 Rule 11(a)
   provides      that     “[t]he   district        court     must   issue   or    deny   a
   certificate of appealability when it enters a final order adverse
   to the applicant,” and if a certificate is issued “the court must
   state the      specific     issue    or    issues       that   satisfy   the   showing
   required by 28 U.S.C. §2253(c)(2).” A timely notice of appeal must
   still   be    filed,     even   if   the    court       issues    a   certificate     of
   appealability. Rules Governing §2255 Proceedings, Rule 11(b), 28
   U.S.C. foll. §2255.


          After review of the record, Movant is not entitled to a
   certificate of appealability. “A certificate of appealablilty may
   issue ... only if the applicant has made a substantial showing of
   the denial of a constitutional right.” Id. 28 U.S.C. §2253(c)(2).
   To merit a certificate of appealability, Movant must show that
   reasonable jurists would find debatable both (1) the merits of the


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   underlying claims and (2) the procedural issues he seeks to raise.
   Slack v. McDaniel, 529 U.S. 473, 478, 120 S.Ct. 1595, 146 L.Ed.2d
   542 (2000). See also Eagle v. Linahan, 279 F.3d 926, 935 (11th Cir.
   2001). Because the §2255 motion is clearly time-barred, Movant
   cannot satisfy the Slack test. Slack, 529 U.S. at 484.


         As now provided by Rules Governing §2255 Proceedings, Rule
   11(a), 28 U.S.C. foll. §2255: “Before entering the final order, the
   court may direct the parties to submit arguments on whether a
   certificate   should   issue.”   If    there   is    an   objection   to   this
   recommendation by either party, that party may bring this argument
   to the attention of the district judge in the objections permitted
   to this report and recommendation.

                             VII. Recommendations

         Based on the foregoing, it is recommended that the motion to
   vacate   be   dismissed   with   prejudice      as    time-barred,    and    no
   certificate of appealability should issue.


         Objections to this report may be filed with the District Judge
   within fourteen days of receipt of a copy of the report.


         SIGNED this 19th day of February, 2016.



                                              UNITED STATES MAGISTRATE JUDGE

   cc:   Dexter Earl Kemp, Pro Se
         Reg.# 83049-004
         Jail# 150131766
         Miami-Dade County-PDC
         Pretrial Detention Center
         1321 NW 13th Street
         Miami, FL 33125



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        Juan Antonio Gonzalez, Jr., AUSA
        United States Attorney's Office - H.I.D.T.A.
        11200 NW 20th Street
        Suite 101
        Miami, FL 33172




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